eee ee eement OF the Treasury Date This ire.
Dene pee hNIO Fe SPM ocument 75-1 Filed in USD NEM RLQOLELIOS Page 1 of 23
District Director Taxpay® Identifying Number:
XXX-XX-XXXX
Form: 1040
Person to Contact:
90-Day Unit
Telephone Number:
(405) 297-4087

Lindsey K, Springer CERTIFIED MAIL

o147 South Harvard \N il
Suite 116
Tulsa, Oklahoma 74135
as pares

Tax Year Ended: December 31, 1990 December 31, 1991 December 31, 1992
Deficiency:
Increase in tax $ 7,679 $ 7,979 $ 8,084
Penalties

IRC 6651(a) (1) $ 1,920 $ 1,995 $ 2,021

IRC 6654 $ 507 $ AST $ 351

Dear Taxpayer:
~-NOTICE OF DEFICIENCY--

We have determined that you owe additional tax or other amounts, or both as
shown for the tax year(s) identified above. This letter is your NOTICE OF
DEFICIENCY, as required by law. The enclosed Statement shows how we figured the
deficiency.

If you want to contest this determination in court before making any
payment, you have 90 days from the date of this letter (150 days if addressed to
you outside of the United States) to file a petition with the United States Tax
Court for a redetermination of the deficiency. For a petition form, write to:

United States Tax Court
400 Second Street, NW
Washington, DC 20217

Send the completed petition form, a copy of this letter, and all relevant
Statements or schedules that accompanied this letter to the Tax Court at the
Same address. The petition must be timely filed with the court within 90 days
from the above mailing date (150.days if addressed to you outside of the United
States). However, if the petition is filed after the 90 day (or 150 day)
period, it is considered timely filed if the postmark date falls within the
prescribed period and the envelope containing the petition is properly addressed
with the correct postage,

The time for filing a petition with the Court (90 or 150 days as the case
may be) is set by law and cannot be extended or suspended. Thus, contacting the

(continued next page)

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55 North *obinson
Oklahoma City, OK 731092

Case 4:09-cr-00043-SP@@pocument 70-1 Filed in USDC N on 06/01/09 Page 2 of 23

Service for more information or receiving other correspondence from the Service
will not change the period for filing a petition with the Tax Court. The court
cannot consider your case if the petition is filed late.

If this letter is addressed to both a husband and wife, and both want to
petition the Tax Court, both must sign and file the petition or each must file a
separate, signed petition. If more than one year is shown above, you only need
to file one petition form showing the years you are contesting.

The Tax Court has a simplified procedure for smal] tax cases, when the
dispute is for $10,000 or less for any one tax year. You can fet information
about this procedure, as well aS a petition form you can use, by writing to:

Clerk of the United States Tax Court
400 Second Street, Nw
Washington, DC 20217

Do this promptly if you intend to file a petition with the Tax Court.

You may represent yourself before the Tax Court, or you may be represented
by anyone admitted to Practice before the court.

If you decide not to file a petition with the Tax Court, please sign and
return the enclosed waiver form. This will permit us to assess the deficiency
quickly and can help limit the accumulation of interest. The enclosed envelope
is for your convenience.

If you decide not to Sign and return the waiver and you do not file a
petition with the Tax Court within the time limit, the law requires us to assess
and bill you for the deficiency after 90 days from the above mailing date of
this letter (150 days if this letter is addressed to you outside the United
States).

If you have any questions about this letter, please write to the person
whose name and address are Shown on this letter. If you write, please attach
this letter to help us identify your account. Keep the copy for your records,
Also, please include your telephone number and the most convenient time to call,
SO we can contact you if we need additional information.

If you prefer, you may call the IRS contact person at the telephone number
shown above. If this number {s outside your local calling area, there will be a

(continued next page)
iled i 3 of 23
Case 4:09-cr-00043-SP@M@pocument 75-1 Filed in USDC \@ on 06/01/09 Page

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-3-
long distance charge to you. Yoy may call the IRS telephone number
listed in your directory. An IRS employee there may be able to help

you, but the contact Person at the address shown an this letter is most
Familiar with your case.

Thank you for your cooperatian.

Sincerely,

Commissioner

By
Horna. Poli,

Norman Botsford
Chief, Examination Division

Enclosures: Rat Ay-BE RA

Waiver
Envelope
FOR se 4 RRFTEIAS-SB déerteny 75-Iritouad RERGuY DReOS[OTMo Rae 4 of 23
40 ‘

) OF DEFICIENCY - WAIVER | E: ESP: 4060
Name, SSN or EIN, and Address of Taxpayer(s)
Lindsey K. Springer XXX-XX-XXXX
5147 South Harvard
Suite 116

Tulsa, Oklahoma 74135

[ ] Copy to Authorized Representative

Kind of Tax |
|
INCOME |
|
DEFICIENCY - Increase in Tax and Penalties
Tax Year Ended: December 31, 1990 December 31, 1991 December 31, 1992
Deficiency:
Increase in tax $ 7,679 $ 7,979 $ 8,084
Penalties
IRC 6651(a) (1) $ 1,920 $ 1,995 $ 2,021
IRC 6654 $ 507 $ 457 $ 351

see the attached explanation for the above deficiencies
I consent to the immediate assessment and collection of the deficiencies
(increase in tax and penalties) shown above, plus any interest provided by law.

[Your Signature [Date signed
| |
| |
[Spouse's Signature, If A Joint. Return Was Filed [Date signed
| |
|
[Taxpayer's Representative Sign Here |Date signed
| |

LL |

Corporate Name:

Corporate Officers Sign Below
Signature Title [Date signed

|

|

|

|

|
|

|

Signature Title [Date signed

it |
(For instructions, see next page)
If you agree, please sign one copy and return it.

Keep the other copy for your records.
Form 4089 (Rew {-872}

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Instructions for Form 4099

Note;

If you consent to the assessment of the amounts shown in this waiver, please
sign and return it in order to limit the accumulation of interest and expedite
our bill to you. Your consent will not prevent you from filing a claim for
refund (after you have paid the tax) if you later believe you are entitled to a
refund. It will not prevent us from later determining, if necessary, that you
owe additional tax; nor will it extend the time provided by law for either
action,

If you later file a claim and the Internal Revenue Service disallows it,
you may file suit for refund in a district court or in the United States Claims
Court, but you may not file a petition with the United States Tax Court.

Who Must Sign

If this waiver is for any year(s) for which you filed a joint return, both
you and your spouse must sign the original and duplicate of. this form.. Sign
your name exactly as it appears on the return. If you are acting under power of
attorney for your spouse, you may sign as agent for him or her.

/ For an agent or attorney acting under a power of attorney, a power of
attorney must be sent with this form if not previously filed.

For a person acting in a fiduciary capacity (executor, administrator,
trustee) file Form 56, Notice Concerning Fiduciary Relationship, with this form
if not previously filed.

For a corporation, enter the name of the corporation followed by the
Signature and title of the officer(s) authorized to sign.

Form 4089 (Rev. 1-83)
Case 4:09-cr-00043-SP i ocONGANTEF OFiISHEBTUSDC N@ 06/01/09 Page 6 of 23
Page
Lindsey K. Springer | TIN: 444-7803750
|

Interest on Deficiencies

Interest on deficiencies will accrue from the due date of the return until
paid.

Failure to File Penalty IRC section 6651(a)(1) and 6601(e) (2)

Since your income tax return(s) for the taxable year(s) ended

December 31, 1990, December 31, 1991 and December 31, 1992 were not filed
within the time prescribed by law, and you have not shown that such failure
to timely file your return(s) was due to reasonable cause, a penalty of five
(5) percent is added to the tax for each month or part of a month (but not
to exceed a total of twenty-five (25) percent) for which your return was
late. If your return was filed after December 3], 1982 and was more than 60
days late, the minimum penalty is the lesser of $100 or the tax due, In
addition, interest is figured on this penalty from the later of the due date
of the return (including any extensions) or July 18, 1984.

Estimated Tax Penalty IRC section 6654

Since you underpaid your estimated tax for the taxable year(s) ended
December 31, 1990, December 3t, 1991 and December 31, 14992 the addition to
the tax provided by section 6654 of the Internal Revenue Code is asserted,
pe of the Preasury - Inbe roe on 06/01/09 Page 7 of 23
Case 4:09-cr-00043-SP panmlen 75h Fied I UsE Cha F

Vame and Address of Taxpayer | Social Security or Employer Identification Number [Return Form No,

: | |

lindsey K. Springer j XXX-XX-XXXX | 1040
| Person with whom | Name and Title

| examination changes |
| were discussed

| |

1. Adjustments to incone Year End: 12/31/99 | Year End: 12/31/91 Year End: 12/31/92

| |
A. Exemptions i$ ~2,050 |$ -2,150 |$ -2, 300
k, Income | 27,710 | 28,865 | 29,634
(. SELF-EMPLOYMENT TAX DEDUCTION | ~1,958 | -2,039 | -2,094
D. STANDARD DEDUCTION | -2,725 | ~2,850 | ~3,000
E, | | |
P, | | |
G. | | |
H, | | |
I, | | |
J. | | |
K. | | |
L, | | |
4, | | |
N, | | |
0, |
P, | | |
Q. | | |
R, | | |
5. | | |
Tr, | | |
4 “otal adjustments | 20,977 | 21,826 | 42,240
i .xable income per return or as previously adjusted | 0 | QO | 0
1. Corrected taxable income | 20,977 | 21,826 | 22,240
Tax Method | Tax Table | Tax Table = | Tax Table
Filing Status | Married - Separate | Married - Separate | Married - Separate
}. Tay | 3,764 | 3,901 | 3,896
i, Additional tayes | Q | 0 | 0
» Corrected tax liability 7 | 3,764 | 3,901 | 3,896
. Less A, | | |
Credits RB, | | |
C, | |
D. | | |
» Balance (line 7 less total of Hines 8A thru 8D} | 3,764 | 3,901 | 3,896
. Plas A. SELF-EMPLOYMENT TAX | 3,915 | 4,078 } 4,188
Other B, | | |
Taxes (, | | |
D, | | |
_ Total corrected tax Hiability (line 9 + lines 194 - 10D) | 7,679 | 7,979 | 8,084
Total tax shown on return or aS previously adjusted | 0 | O | 0
Adjustment to A, Earned Income Credit | 0 | 0 | 0
B. Special Fuels Credit | 0 | 0 | 0
Deficlency -Increase in tax or (Overassessment -Decrease | |
in tax) (line 11 less line 12 adjusted by line 3) | 7,679 | 7,979 | 8,084
Adjustment to prepayment credits | 0 | 0 | 0
|

Balance due or Overpayment (line 14 adjusted by line 15) | |
(excluding interest and penalties] if 7,679 [$ 7,979 |$ 8,084

ternal Revenue Service has agreements with State tax agencies under which information about Federal tax, including increases or
“1250S, 1$ exchanged with the States. If this Change affects the amount of your State income tax, you should fle the State form,

1 may be subject to backup withholding if you underreport your interest, dividend, or patronage dividend income and do not pay the
jlired tax, The ERS may order backup withholding al 3! percent after four notices have been issued tg you over a 120-day period

| the ax has been assessed and remains unpaid. _.

TORAR V12.2 (12/01/95) moet ws
a i i a a CTA;

— Ot ue EGS TTY A MTErNa | Revenue seérvice

On O6/01/09.. Page 8 of 23

Name of Taxpayer ~ | Social nels “or Eopld dentification Number |Return Form Mo,
. | |

Lindsey kK. Springer XXX-XX-XXXX | 1040

1 analties Year End: 12/31/90 | Year End: 12/31/91 Year End: 12/41/92

| |
. Failure to File IRC 6651(a)(1) Is 1,920 {$ 3,995 j$ 2,021
8. Estimated Tax IRC 6654 | 507 | 457 : 351
C. | |
D. | | |
E, | | |
Fr. | | |
G, | | |
H, | | |
I, | | |
J. | | |
K, | |
L. | | |
M, | | |
N. | |
18. Total penalties is 2.427 |$ 2,452 ff 2,372
Summary of Taxes, Penalties, and Interest: | | |
A, Balance due or Overpayment of taxes (line 16, page 1} | 7,679 | 7,979 | 8,084
B. Penalties (line 18, page 2} | 2,427 | 2,452 | 2,372
C. Interest (IRC 6601) | | |
D, Apount due or refund (sum of lines A, B, and C] \$ 10.106 {5 10,431 J 10,456
Note: Line D does not include interest.
Other Information:
Examiner's Signature | District | Date
= ~ - | Arkansas-Oklahoma |
MicroRaR Vi2,2 (12/01/95) Page 2 of 2 Form 45494-(G (Rev, 10-90)
/ Name OF Taxpayer: Lindsey kK. Springer on 06/01/09 BSGE StS3 1

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1990 SCHEDULE SE - COMPUTATION OF SELF-EMPLOYMENT TAX
1. Total earnings from self-employment
2. Earnings subject to self-employment tax

(Line 1 multiplied by .9235)

3. Maximum earnings subject to social security tax

4. Social security wages and tips from W-2 0
2. Unreported tips from Form 4137, line 9 0)
6. Sum of lines 4 and §

7. Line 3 less line 6

8. Lesser of lines 2 or 7 (0 if line 2 < $400)

9. Applicable tax rate

10. Line 8 multiplied by line 9 ~ SELF-EMPLOYMENT TAX

1330 DEDUCTION FOR ONE~HALF OF SELF-EMPLOYMENT TAX
1. Corrected self-employment tax
2. Line 1 divided by 2 - ONE-HALF OF SELF-EMPLOYMENT TAX
3. Self-employment Tax Deduction - Per Return

4. Self-employment Tax Deduction - As Corrected
9. Line 3 less line 4 - Adjustment to Income

27,710
25,590

91,300
‘Name Of Taxpayer: Lin
TD Name n309-cr-00043-SP

1991 SCHEDULE SE ~ COMPUTATION OF SELF-EMPLOYMENT TAX

Total earnings from self-employment
Earnings subject to self-employment tax
(Line 1 multiplied by .9235)

Maximum €arnings subject to social security tax

Social security wages and tips from w-2
Unreported tips from Form 4137, line 9
Sum of lines 4 and 5

Line 3 less line 6

Lesser of lines 2 or 7 (0 if line 2 < $400)
Applicable tax rate
Line 8 multiplied by line 9

Maximum earnings subject to medicare tax
Medicare wages and tips from w-2
Unreported tips from Form 4137, line 14
Sum of lines 12 and 13

Line 11 less line 14

Lesser of lines 2 Or 15 (0 if line 2 ¢ $400)
Applicable tax rate
Line 16 multiplied by line 17

Line 10 plus line 18 - SELF-EMPLOYMENT TAX

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1991 DEDUCTION FOR ONE-HALF OF SELF~EMPLOYMENT TAX
Corrected self-employment tax

Line 1 divided by 2 - ONE-HALF OF SELF-EMPLOYMENT TAX
self-employment Tax Deduction - Per Return

Self-employment Tax Deduction - As Corrected
Line 3 less line 4 - Adjustment to Income
SINGH Qi laxpayer:

TD Nughed-09-cr-00043-$

Lindsey Kk. Springer
GumMEnt 75-1 Filed in USDC ND/

s

1992 SCHEDULE SE - COMPUTATION OF SELF-EMPLOYMENT TAX

Total earnings from self-employment
Earnings subject to self-employment tax
(Line 1 multiplied by .9235)

Maximum earnings Subject to social security tax

Social security wages and tips from W-2
Unreported tips from Form 4137, line 9
Sum of lines 4 and-5

Line 3 less line 6

Lesser of lines 2 or 7 (0 if line 2 < $400)
Applicable tax rate
Line 8 multiplied by line 9

Maximum earnings subject to medicare tax
Medicare wages and tips from W-2
Unreported tips from Form 4137, line 14
Sum of lines 12 and 13

Line 11 less line 14

Lesser of lines 2 or 15 (0 if line 2 < $400)
Applicable tax rate
Line 16 multiplied by line 17

Line 10 plus line 18 - SELF-EMPLOYMENT TAX

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130,200

0
130,200

27,367
2.90%
794

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1992 DEDUCTION FOR ONE-HALF OF SELF-EMPLOYMENT Tax
Corrected self-employment tax

Line 1 divided by 2 - ONB-HALP OF SELF-EMPLOYMENT TAX
Self-employment Tax Deduction - Per Return

Self-employment Tax Deduction - As Corrected
Line 3 less line 4 - Adjustment to Income
"Name Of Taxpayer: Lindsey K. Springer | ‘ fo. 4
ID Nepde #:09-cr-00043- BPR arsen 75-1 Filed in USDC nig 06/01/09 Page addi 23

was due to reasonable cause, an addition to the tax is Charged as shown
below, in accordance with Section 6651(a)(1) of the Internal Revenue Code.

1. Date return due (including extensions) 04/15/91

@. Substitute for return - computation date 02/16/96

3. Penalty rate 25.00%

4. Total corrected tax liability, Form 4549, line 11 7,679

5. Payments on or prior to due date of return 0

6. Corrected EIC and Special Fuels Credit 0

7. Line 4 less sum of lines 5 and 6 7,679

8. Penalty - line 7 multiplied by line 3 1,920.

9. Minimum penalty if over 60 days delinquent — 2100

10. Greater of line 8 or line 9 © 1,920
11. Failure to file penalty Previously assessed 0

12. Concurrent failure to pay penalty assessed 0

13. Line 10 less sum of lines 11 and 12
FAILURE TO FILE PENALTY DUE 1,920
1990 ~ EXPLANATION OF THE ESTIMATED TAX PENALTY

Since you did not Pay sufficient estimated tax, an addition to the tax is
charged as shown below, in accordance with Section 6654(a) of the Internal
Revenue Code,

1. Total corrected tax liability, Form 4549, line li 7,679
2. Certain other taxes 0

3. Earned income and special fuels credits 0

4. Line 1 less sum of lines 2 and 3 7,679
5. Withholding taxes 0
6. Line 4 less line 5 (no penalty if less than $500) 7,679
7. 90% of line 4 6,911
8. 1989 tax (does not apply)

9 Lesser of lines 7 or 8 -~ total Payment required 6,911

A B C D

10, Payment due date Apr 15 1990 Jun .15 1990 Sep 15 19906 Jan 15 199]

11. Payment required 1,727 1,728 1,728 1, 728
12. Payments & credits 0 0 0 0
Estimated tax Paid and tax withheld as applied:
13. Paid Apr 15, 1990 0
i4. Paid Jun 15, 1990 0 0
15. Paid Sep 15, 1990 0 0 0
16, Paid Jan 15, 1991 0 0 Q 0
Underpayment and Penalty computation:
17. First period (line 114A less sum of:)
4/15 to 6/15 (13A) 1,727 xX .018384 32
6/15 to 9/15 (13A+14A) 1,727 X ,027726 48
9/15 to 1/15 (13A+14A+15A) 1,727 X .036767 63
1/15 to 4/15 (13A+14A+15A+16A) 1,727 X .027123 47
18. Second period (line 11B less sum of:)
6/15 to 9/15 (148) 1,728  X .027726 48
9/15 to 1/15 (14B+15B) 1,728 X  .036767 64
1/15 to 4/15 (14B+15B+16B) 1,728 X .027123 47
19. Third period (line 11C less sum of: )
9/15 to 1/15 (15¢) 1,728 X (036767 64
1/15 to 4/15 (15C+16C) 1,728 X ,027123 47
20. Fourth period (line 11D less: )
1/15 to 4/15 (16D) 1,728 X ,027123 47
21. Sum of lines 17, 18, 19 and 20 - estimated tax penalty 507
22, Previously assessed estimated tax penalty 0
23. ESTIMATED TAX PENALTY DUE 507
- Name Of Taxpayer: Lindsey K. Sprin er. e 25> 6
ID Namke 2:09-cF-.00049-Srr ler 75-1 Filed in USDC ND/@ipn 06/01/09 Pagpedy beo3

1991 - EXPLANATION OF THE FAILURE TO FILE PENALTY

Since your income tax return was not filed within the time limit prescribed
‘by law and you have not shown that such failure to timely file your return
was due to reasonable cause, an addition to the tax is charged as shown
below, in accordance with Section 6651(a)(1) of the Internal Revenue Code.

1. Date return due (including extensions) 04/15/92
2. Substitute for return - computation date 02/16/96
3. Penalty rate 25.00%
4. Total corrected tax liability, Form 4549, line 11 7,979
2. Payments on or Prior to due date of return 0

6. Corrected EIC and Special Fuels Credit 0

7. Line 4 less sum of lines 5 and 6 7,979
8. Penalty - line 7 multiplied by line 3 1,995
9. Minimum penalty if over 60 days delinquent 100
10. Greater of line 8 or line g 1,995
ll. Failure to file penalty previously assessed 0

12, Concurrent failure to pay penalty assessed 0

13. Line 10 less sum of lines 11 and 12
FAILURE TO FILE PENALTY DUE 1,

o
6
or
7 Name Ol Taxpayer: Lindsey K. Springer che 7
TD Nembe 4:09-cr-00043- @uifient 75-1 Filed in USDC ND/@@pn 06/01/09 Page’ f8df23

1991 - EXPLANATION OF THE ESTIMATED TAX PENALTY

Since you did not pay sufficient estimated tax, an addition to the tax is
‘charged as shown below, in accordance with Section 6654(a) of the Internal
Revenue Code.

1. Total corrected tax liability, Form 4549, line 11 7,979
2. Certain other taxes 0

3. Earned income and special fuels credits 0

4, Line 1 less sum of lines 2 and 3 7,979
5. Withholding taxes 0
6. Line 4 less line 5 (no penalty if less than $500) 7,979
7. 90% of line 4 7,181
8. 1990 tax (does not apply)

9 Lesser of lines 7 or 8 - total payment required 7,181

A B C D

10. Payment due date Apr 15 1991 Jun 15 1991 sep 15 1991 Jan 15 1992

11. Payment required 1,795 1,795 1,795 1,796
12. Payments & credits 0 0 0 0
Estimated tax paid and tax withheld as applied:.
13. Paid Apr’'15, 1991 0
14, Paid Jun 15, 1991 0 0
5. Paid Sep 15, 1991 0 0 0
16. Paid Jan 15, 1992 0 0 0 0
Underpayment and penalty computation:
17. First period (line 11A less sum of:)
4/15 to 6/15 (134A) 1,795 X .016712 30
6/15 to 9/15 (13A+14A) 1,795 X .025205 Ad
9/15 to 1/15 (13A+14A+15A) 1,795 X ,033004 59
1/15 to 4/15 (13A+14A+15A+16A) 1,795 X .022377 40
18. Second period (line 11B less sum of: )
6/15 to 9/15 (14B) 1,795 X .025205 45
9/15 to 1/15 (14B+15B) 1,795 X .033004 39
1/15 to 4/15 (14B+15B+16B) 1,795 X .022377 40
19. Third period (line 11C less sum of:)
9/15 to 1/15 (15C) 1,795 X .033004 59
1/15 to 4/15 (15C+16C) 1,795 X .022377 40
20. Fourth period (line 11D less: )
1/15 to 4/15 (16D) 1,796 X .022377 40
21. Sum of lines 17, 18, 19 and 20 - estimated tax penalty 457
22, Previously assessed estimated tax penalty 0
23. ESTIMATED TAX PENALTY DUE 457
. Name Of Taxpayer: Lindsey K. Springer Schedule __ 8
TD Number4:09-cr-0004343F Uséent 75-1 Filed in USDC ND/ n 06/01/09 Page 16 of 23

1992 - EXPLANATION OF THE FAILURE TO FILE PENALTY

Since your income tax return was not filed within the time limit prescribed
‘by law and you have not shown that such failure to timely file your return
was due to reasonable cause, an addition to the tax is charged as shown
below, in accordance with Section 6651(a)(1) of the Internal Revenue Code.

1. Date return due (including extensions) 04/15/93
2. Substitute for return - computation date 02/16/96
3. Penalty rate 25.00%
4. Total corrected tax liability, Form 4549, line ll 8,084
5. Payments on or prior to due date of return 0

6. Corrected EIC and Special Fuels Credit 0

7. Line 4 less sum of lines 5 and 6 8,084
8. Penalty - line 7 multiplied by line 3 2,021
9. Minimum penalty if over 60 days delinquent 100
10. Greater of line 8 or line 9 2,021
11. Failure to file penalty previously assessed 0

12. Concurrent failure to pay penalty assessed 0

13. Line 10 less sum of lines 11 and 12
FAILURE TO FILE PENALTY DUE 2,02]
em eT TT Ne fe MANU SCY nA, opringer Schedule, g
1? Pee d9-cr-00043-44 comet 75-1 Filed in USDC ND/ n 06/01/09 Page 1/0

1992 - EXPLANATION OF THE ESTIMATED TAX PENALTY

Since you did not Pay Sufficient estimated tax, an addition to the tax is
- Charged as shown below, in accordance with Section 6654(a) of the Internal
Revenue Code.

1. Total corrected tax liability, Form 4549, line 11 8,084
2. Certain other taxes 0

3. Earned income and special fuels credits 0

4. Line 1 less sum of lines 2 and 3 . 8,084
5. Withholding taxes —2¢
6. Line 4 less line § (no penalty if less than $500) 8,084
7. 90% of line 4 7,276
8. 1991 tax (does not apply)

g Lesser of lines 7 or 8 - total payment required 7,276

A B C D

10. Payment due date Apr 15 1992 Jun 15 1992 Sep 15 1992 Jan 15 1993

11. Payment required 1,819 1,819 1,819 1,819
12. Payments & credits 0 0 0 0
Estimated tax paid and tax withheld as applied:
13. Paid Apr 15, 1992 0
14. Paid Jun 15, 1992 0 0
‘9. Paid Sep 15, 1992 0 0 0
16. Paid Jan 15, 1993 0 0 0 0
Underpayment and penalty computation:
17. First period (line 11A less sum of: )
4/15 to 6/15 (13A) 1,819 X .013333 24
6/15 to 9/15 (13A+14A) 1,819 X .020109 37
3/15 to 1/15 (13A+14A+15A) 1,819 X .023752 43
1/15 to 4/15 (13A+14A+15A+16A) 1,819 X .017260 31
18. Second period (line 11B less sum of: )
6/15 to 9/15 (14B) 1,819 X .020109 37
9/15 to 1/15 (14B+15B) 1,819 X .023752 43
1/15 to 4/15 (14B+15B+16B) 1,819 X .017260 31
13. Third period (line 11C less sum of: )
9/15 to 1/15 (15¢C) 1,819 X .023752 — 43
1/15 to 4/15 (15C+16C) / 1,819 X .017260 31
20. Fourth period (line 11D less: )
1/15 to 4/15 (16D) 1,819 X .017260 31
21. Sum of lines 17. 18, 19 and 20 - estimated tay penalty 351
22, Previously assessed estimated tax penalty 0
23 ESTIMATED TAX PENALTY DUE 351
ID Nu@ifep09-cr 58

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Adjustment: Exemptions

. 1990 1991 1992
PER RETURN: 0 0 0
CORRECTED: 2,050 2,150 2,300
ADJUSTMENT : 2,050 72,150 -2, 300

Explanation
It is determined that you are allowed a personal exemption in the amount
of $2,050 for 1990, $2,150 for 1991, and $2,300 for 1992.

Accordingly, your 19990 taxable income is decreased $2,050, your 199]
taxable income is decreased $2,150, and your 1992 taxable income is
decreased $2,300.
Name (of TAR aY Sb043-5 '7S.A8Fifed in USDC ND/@ffMpn 06/01/09 Rage 20 pé2% B)
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Adjustment: Income

. 1990 1991 1992
PER RETURN: 0 0 0
CORRECTED; 27,710 28,865 29,634
ADJUSTMENT : 27,710 28,865 29,634

Explanation

It is determined that you received taxable income in the amount of $27,710
in 1990, $28,865 in 1991, and $29,634 in 1992 which you neglected to
report for taxation by failing to file a federal income tax return for the
years Stated. In the absence of adequate records, we have computed your
unreported taxable income using reasonable estimates and Bureau of Labor
statistics, as shown below.

Accordingly, your 1990 taxable income is increased $27,710, your 1991
taxable income is increased $28,865, and your 1992 taxable income is
increased $29,634,

19390 1991 1992
Income per Bureau of Labor Statistics,
high bracket. urban United States, four
persons (husband under age thirty-five,
wife and two children under age six) $27,710 $28,865 $29,634
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ID Number: 44242 3758

Adjustment: SELF-EMPLOYMENT TAX DEDUCTION

. 1990 199] 1992
PER RETURN: 0 0 0
CORRECTED : 1,958 2,039 2,094
ADJUSTMENT : =~1,958 - 2,039 -2,094

Explanation
It is determined that you are allowed a self-employment tax deduction in
the amount of $1,958 for 1990, $2,039 for 1991, and $2,094 for 1992.

Accordingly. your 1990 taxable income is decreased $1,958, your 1991
taxable income is decreased $2,039, and your 1992 taxable income is
decreased $2,094.

See Schedules 1, 2 and 3 of this notice for the computation of the
self-employment tax deduction for 1990, 1991, and 1992, respectively.
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Adjustment: STANDARD DEDUCTION

. 1990 1991 1992
PER RETURN: 0 0 0
CORRECTED: 2,725 2,850 3,000
ADJUSTMENT: -2,725 -~2,850 - 3,000

Explanation

Based on the filing status of married filing separate, you are allowed the
standard deduction in the amount of $2,725 for 1990, $2,850 for 1991, and
$3,000 for 1992,

Accordingly, your 1990 taxable income is decreased $2,725, your 1991
taxable income is decreased $2,850, and your 1992 taxable income is
decreased $3,000.
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Adjustment: SELF-EMPLOYMENT TAX

. 1990 1991 1992
PER RETURN: 0 0 0
CORRECTED: 3,915 4,078 4,188
ADJUSTMENT: 3,915 4,078 4,188

Explanation

It is determined that your earnings are subject to self-employment tax.
Accordingly, your 1990 income tax liability is increased $3,915, your 1991
income tax liability is increased $4,078, and your 1992 income tax
liability is increased $4,188,

see Schedules 1, 2 and 3 of this notice for the computation of
self-employment tax for 1990, 1991 and 1992, respectively.

1990 1991 1992

Self-Employment Income $27,710 $28,865 $29,634

See Schedule B of this notice.
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If you agree with our examinstion, gay now by sending a check or money order
and your signed waiver, Form 40649,

Why is it to your advantage to pay now
* - Decrease future interest charses
* - Prevents assessment of Failure to pay penalty

~ Reduces payment of nondeductible interest
- Eliminates further contact with us

If you agree with our examination and cannot pay now

(1) Can you pay the full amount within 120 days?

f s, send in the signed waiver, Form 4089, now and submit the
balance due when you receive a bill.

- If no, you may be eligible for a payment plan,

(2) If you would like vs to consider an instellment agreement, submit your
written request or checks the box below and return this flyer with your

signed waiver, Form 4089.

[ J] I would like to be considered for an installment agreement.

You will be charged a $43 fee if your requ
include the fee with this flyer, We will
fee when we approve your request,

st 18 approved, DO NOT
end you a bill for tha

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Please provide the following information so we can contact you
regarding your request,

Name: on
SSN: —

Home telephone number _( y

Work telephone number ( )

ALSO, if you agree with our examination, PLEASE SIGN PAGE 1 OF THE WAIVER,
FORM 4089, and return to us.

* Interest and applicable penalties will continue to soerve until your
balance is paid in foll.
